         Case 3:17-cv-00439-JWD-EWD             Document 51-1       11/29/17 Page 1 of 6




                             UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                       )
BLAIR IMANI, et al.                    )
                                       )
                    Plaintiffs,        )  Docket No. 17-cv-00439-JWD-EWD
      v.                               )
                                       )
CITY OF BATON ROUGE, et al.            )
                                       )
                    Defendants.        )
______________________________________ )

                  MEMORANDUM IN SUPPORT OF MOTION FOR
             LEAVE OF COURT TO FILE SECOND AMENDED COMPLAINT

         NOW INTO COURT, through undersigned counsel, come Plaintiffs who file this

Memorandum in support of their motion for leave to file a Second Amended Complaint and

name recently-identified John Doe Defendants.

   I.       INTRODUCTION

         This lawsuit is brought by protesters and journalists arrested on July 10, 2016, during

peaceful protests in Baton Rouge a few days after Alton Sterling was killed by police. R. Doc. 5.

Plaintiffs have sought the names of several John Doe defendants through the Louisiana Public

Records Act and expedited discovery. See R. Doc. 2, 16 and 21, at 3-5, 8-9. Through their

diligence plaintiffs have been able to identify several of the John Doe Defendants in this case.

They now seek leave to file an amended complaint and formally name these Defendants.

   II.      BACKGROUND

         Plaintiffs filed their complaint on July 9, 2017, and their first amended complaint on July

21, 2017. R. Docs 1, 5. They named various defendants including officials employed by the

City/Parish of Baton Rouge, the Baton Rouge Police Department, the Louisiana State Police, and



                                                  1
       Case 3:17-cv-00439-JWD-EWD               Document 51-1        11/29/17 Page 2 of 6




the East Baton Rouge Parish Sheriff’s Department. See R. Doc. 21, at 1-2. Plaintiffs also named

a number of unknown “Officer Does” who served as officers with the Baton Rouge Police

Department, East Baton Rouge Sheriff’s Office, the Louisiana State Police, and other law

enforcement agencies that arrested Plaintiffs or signed affidavits of probable cause for a

Plaintiff’s arrest. R. Doc. 21, at 2-3.

        In an attempt to diligently seek out the proper names of the Officer Does, on July 10,

2017, Plaintiffs filed a Motion for Leave of Court to Conduct Limited Expedited Discovery. R.

Doc. 2. In their request Plaintiffs explained that:

        while they have “determined the identities of many Defendants via public records
        requests and their own investigation, others are still unknown” because affidavits of
        probable cause do not identify the arresting officer, the signatures of the officers signing
        the affidavits are illegible, and “some Defendants’ insurers are unknown even after public
        records requests.” R. Doc. 6, at 2-3.

        Consequently, Plaintiffs sought leave to issue subpoenas to specific entities asking, inter

alia, for (1) the name, title, and rank of the officers who detained and arrested each Plaintiff; (2)

the name, title, and rank of the officers who signed affidavits of probable cause for each Plaintiff;

and (3) the identity of any liability or excess insurer for entity Defendants. R. Doc. 21, at 3.

        On July 25, 2017, this Court denied Plaintiffs’ motion without prejudice, leaving them

the clear right to re-urge the motion if they were “unable to obtain the information they need[ed]

informally and in a timely manner.” R. Doc. 6, at 6 (July 25 Order Denying Motion for

Expedited Discovery). Plaintiffs worked to get the information informally, without success, and

re-urged the motion. On September 11, 2017, this Court granted Plaintiffs leave to issue

subpoenas to BRPD for the identity of the officers involved. R. Doc. 21 (Sept. 11 Order Granting

Motion for Subpoenas).




                                                  2
       Case 3:17-cv-00439-JWD-EWD               Document 51-1        11/29/17 Page 3 of 6




          Pursuant to September 11, 2017 Order, id., Plaintiffs served the Baton Rouge Police

Department with a subpoena requesting the identities of remaining John Doe Defendants. The

return date on that subpoena was October 4, 2017.

          On October 31, 2017, this Court granted “the Consent Motion to Enlarge the Time to

Serve Defendants for good cause[]” and gave Plaintiffs “until December 15, 2017, to serve the

remaining defendants.” R. Doc. 42.

          As the deadline to serve has been extended, and now in possession of the identities of

certain Officer Does, Plaintiffs file this bring this motion for leave of Court to file their Second

Amended Complaint and add the names of these John Doe Defendants.

   III.      PLAINTIFFS SHOULD BE GRANTED LEAVE TO AMEND

      Federal Rule of Civil Procedure 15(a)(2) provides that “[t]he court should freely give leave

when justice so requires.” This standard “evinces a bias in favor of granting leave to amend. The

policy of the Federal Rules is to permit liberal amendment . . . .” Dussouy v. Gulf Coast Inv.

Corp., 660 F.2d 594, 597-98 (5th Cir. 1981); see also Carroll v. Fort James Corp., 470 F.3d

1171, 1175 (5th Cir. 2006). Indeed, a motion for leave to amend should not be denied unless

there is “undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to

cure deficiencies by amendments previously allowed [or] undue prejudice to the opposing party

by virtue of allowance of the amendment.” Foman v. Davis, 371 U.S. 178, 182 (1962). See also

Coghlan v. Wellcraft Marine Corp., 240 F.3d 449, 452 (5th Cir. 2001) (stating that, although a

district court’s denial of motion for leave to amend is reviewed for abuse of discretion, such

discretion is limited in that leave to amend must be freely granted when justice so requires).

      Plaintiffs have diligently sought the identities of doe defendants, filing public records

requests and seeking expedited discovery to ensure that any newly-discovered defendants were



                                                  3
       Case 3:17-cv-00439-JWD-EWD                Document 51-1        11/29/17 Page 4 of 6




added to the lawsuit in a timely fashion. The Court has granted Plaintiffs an extension of time to

serve new defendants until December 15, 2017. This request for leave to amend and add newly-

discovered named defendants is well within that time limitation and there exists no reason to

deny Plaintiffs leave to amend.

        The newly discovered defendants have been on notice since the inception of this lawsuit.

Here, nearly all previously-named defendants have been served or waived service. R.Doc. 16-3,

at ¶ 18. Counsel for these defendants have filed responsive pleadings. See R. Docs. 20, 23. Other

defendants have filed an Answer. See R. Doc. 15. Counsel for the previously-named defendants

has engaged with counsel for Plaintiffs in their efforts to ascertain the identities of the Doe

defendants. See R. Doc. 16-3, at ¶‘s 4, 5, 9, 11-13, 15, 18-19.

        The new parties—members of the Louisiana State Police and the Baton Rouge Police

Department—will have the same attorney as the already-named defendants in these agencies.

This counsels in favor of granting leave to amend. Accord Ramirez v. Burr, 607 F.Supp. 170,

173-174 (S.D.Tex.1984) (“[T]he requisite notice of an action can be imputed to a new defendant

through his attorney who also represented the party or parties originally sued.”) (citing Kirk v.

Cronvich, 629 F.2d 404, 408 (5th Cir.1980)); Morrison v. Lefevre, 592 F.Supp. 1052, 1057-58

(S.D.N.Y.1984) (prison officials added to suit had notice through attorney they shared with

prison officials named in original complaint). The addition of closely related parties in state

government who are in interest with each other does not prejudice the defendants added in the

amended complaint.

        Similarly, the new parties share a sufficient “identity of interests” with the original

parties. See Kirk, 629 F.2d at 408. Identity of interests “generally means that the parties are so

closely related in their business operations or other activities that the institution of an action



                                                   4
       Case 3:17-cv-00439-JWD-EWD              Document 51-1        11/29/17 Page 5 of 6




against one serves to provide notice of the litigation to the other.” Id. at 408 n.4. See also Benson

& Ford, Inc. v. Wanda Petrol. Co., 833 F.2d 1172, 1174 (5th Cir. 1987); O’Hara v. District No.

1-PCD, MEBA, AFL-CIO, 56 F.3d 1514, 1519 (D.C.Cir.1995).

      In short, there is simply no prejudice to the defendants in allowing this amendment and

Plaintiffs should be granted leave to amend their complaint and add the names of the newly-

discovered defendants.

   IV.      CONCLUSION

         WHEREFORE, Plaintiffs respectfully request that this Court enter an order granting them

leave to amend their complaint and add the names of the recently-identified John Doe

Defendants.

                                                      Respectfully submitted,

                                                      /s/ William Most_________
                                                      WILLIAM MOST
                                                      Louisiana Bar No. 36914
                                                      201 St. Charles Ave., Ste. 114 #101
                                                      New Orleans, LA 70170
                                                      Tel: (650) 465-5023
                                                      Email: williammost@gmail.com

                                                      /s/ John Adcock__________
                                                      JOHN ADCOCK
                                                      Louisiana Bar No. 30372
                                                      3110 Canal Street, 2d Floor
                                                      New Orleans, LA 70119
                                                      T: (504) 233-3125
                                                      F: (504) 308-1266
                                                      Email: jnadcock@gmail.com

                                                      /s/ Michelle M. Rutherford
                                                      MICHELLE M. RUTHERFORD
                                                      Louisiana Bar No. 34968
                                                      1700 S. Rampart St.
                                                      New Orleans, LA 70113
                                                      T: (415) 794-5639
                                                      F: (504) 407-2131


                                                  5
       Case 3:17-cv-00439-JWD-EWD              Document 51-1        11/29/17 Page 6 of 6




                                                      Email: michelle@rfordlaw.com

                                                      Attorneys for Plaintiffs


                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2017, the Plaintiffs’ Memorandum in Support of

the Motion to for Leave to File Amended Complaint was filed electronically with the Clerk of

Court for the Middle District of Louisiana using the CM/ECF system. Notice of this filing will

be sent to all counsel of record by operation of the court’s electronic filing system



                                      ______/s/ William Most__
                                            William Most




                                                 6
